Case 06-10725-gwz

Doc 3730-4 Entered 05/14/07 14:12:23

Page 1 of 10

Invoice No.: 1868837 Page 6

Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Timekeeper Name Hours Billed Rate Total $ Amount

Nancy A. Peterman 17.70 545.00 9,646.50

David W. Baddley 13.50 430.00 5,805.00

Collin B. Williams 3.60 285.00 1,026.00

Kerry E. Carlson 4.80 190.00 912.00

Yolanda Powell 1.00 175.00 175.00
Totals: 40.60 432.62 $ 17,564.50
Case 06-10725-gwz Doc 3730-4 Entered 05/14/07 14:12:23 Page 2 of 10

Invoice No.: 1868837 Page 7
Re: USA Commercial Mortgage Company
Matter No.: 083230.012700

Description of Expenses Billed:

DATE DESCRIPTION AMOUNT
10/29/06 Westlaw Research by BADDLEY,DAVID W. $ 23.26
11/02/06 Telephone; 9177149406 from Ext. 5205 NEW YORK NY $ 0.08
11/02/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.16
11/02/06 Telephone; 9177149406 from Ext. 5205 NEW YORK NY $ 0.08
11/02/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.16
11/03/06 Postage by 007611 $ 0.39
11/03/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.08
11/03/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.16
11/06/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.88
11/06/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 1.28
11/07/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.08
11/07/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.08
11/07/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 1.20
11/07/06 Westlaw Research by BADDLEY,DAVID W. $ 47.62
11/07/06 Westlaw Research by WILLIAMS,COLLIN B. $ 259.73
11/13/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 0.08
11/13/06 Telephone; 8015321500 from Ext. 5205 SALT LAKE UT $ 1.76
11/14/06 VENDOR: SoundPath Conferencing Services, LLC INVOICE#: $ 7,76

GT111406 DATE: 11/14/2006 Conferencing Services Invoice Date
061018 User NAP Client Code 83230 Matter Code 01270

Total Expenses: $ 344.84
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868885
083230.012700

Description of Professional Services Rendered:

ACTION CODE: 804
DATE TIMEKEEPER
12/01/06 ~—s Kerry E. Carlson
12/04/06 Nancy A. Peterman
12/05/06 Nancy A. Peterman
12/06/06 _— Kerry E. Carlson
12/06/06 Kerry E. Carlson
12/06/06 Nancy A. Peterman
12/07/06 Nancy A. Peterman
12/14/06 — Kerry E. Carlson
12/20/06 Nancy A. Peterman
12/29/06 Kerry E. Carlson

CASE ADMINISTRATION

DESCRIPTION

Update docket of recent pleadings (.40)
forward to N. Peterman (.10).

Review recent pleadings.

Review recent pleadings.

Prepare summary of recently filed
pleadings.

Forward all documents to N. Peterman.
Follow-up on filing same; review recent
pleadings.

Review recent pleadings.

Coordinate telephonic appearance of Nancy
Peterman at status hearing.

Determine all open issues for follow-up.
Update pleadings and route docket.

Doc 3730-4 Entered 05/14/07 14:12:23 Page 3 of 10

Total Hours:

Page 1
HOURS AMOUNT

0.50 95.00
0.40 218.00
1.00 $45.00
0.40 76.00
0.10 19.00
0.20 109.00
0.30 163.50
0.40 76.00
1.00 545.00
0.50 95.00
4.80

Total Amount: $ 1,941.50

TIMEKEEPER SUMMARY FOR ACTION CODE 804

CASE ADMINISTRATION
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 2.90 545.00 1,580.50
Kerry E. Carlson 1.90 190.00 361.00
Totals: 4.80 404.48 $ 1,941.50
Case 06-10725-gwz Doc 3730-4 Entered 05/14/07 14:12:23 Page 4 of 10

Invoice No.: 1868885 Page 2
Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 810 LITIGATION MATTERS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
12/20/06 Nancy A. Peterman Attend meeting with T. Allison, J. Atkinson 2.00 1,090.00
and SEC re enforcement action.
Total Hours: 2.00

Total Amount: $ 1,090.00

TIMEKEEPER SUMMARY FOR ACTION CODE 810
LITIGATION MATTERS

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 2.00 545.00 1,090.00

Totals: 2.00 545.00 $ 1,090.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868885
083230.012700

Description of Professional Services Rendered

ACTION CODE: 812

DATE

12/05/06
12/06/06
12/08/06
12/08/06
12/11/06

12/11/06
12/12/06

12/13/06

12/14/06

12/14/06

12/14/06

12/15/06
12/15/06
12/15/06
12/15/06
12/15/06
12/18/06

12/18/06

12/18/06

TIMEKEEPER

Kerry E. Carlson

Kerry E. Carlson
Nancy A. Peterman

Nancy A. Peterman
Kerry E. Carlson

Nancy A. Peterman
Nancy A. Peterman

Nancy A. Peterman

David W. Baddley

Kerry E. Carlson

Nancy A. Peterman

David W. Baddley
Kerry E. Carlson
Nancy A. Peterman
Nancy A. Peterman
Collin B. Williams
David W. Baddley

Victoria W. Counihan

Nancy A. Peterman

PLAN & DISCLOSURE STATEMENT

DESCRIPTION

Prepare materials for confirmation hearing
(1.8); exchange telephone calls with court
reporter regarding missing transcript (.20).
Prepare binder of confirmation materials.
Exchange emails with S. Strong re
confirmation issues.

Telephone conference with J. Atkinson re
confirmation.

Update docket and pleadings (.20); forward
recent objections to confirmation (.10).
Review plan and cramdown issue.

Review and analysis of confirmation
objections.

Telephone conference with S. Darr re
confirmation issues (.40); review email
from A. Jarvis re briefing in response to
confirmation issues ( .20); exchange emails
with D. Baddley re confirmation issues
(.10); telephone conference with J.
Atkinson re confirmation issues (.60).
Review various objections to plan (3.0);
drafted summaries and analysis of same
(3.6).

Update docket to include recent objections
to confirmation.

Prepare for confirmation hearing (1.0);
review recent pleadings; telephone
conference with S. Darr re same (.30).
Strategy conference with N. Peterman re:
plan objections.

Update confirmation materials for N.
Peterman.

Conference with D. Baddley re
confirmation objections.

Participate in telephonic hearing re pretrial
conference for confirmation hearing.
Attend telephonic hearing on confirmation
and other issues.

Review Debtors’ memorandum of law in
support of confirmation of plan.

Research re: provisions in liquidating plans
that preserve privilege for liquidating
trustee (1.0); email draft provisions to N.
Peterman (.20).

Review plan release language (2.0); travel
to Las Vegas for confirmation hearing

Doc 3730-4 Entered 05/14/07 14:12:23 Page 5 of 10

Page 3
HOURS AMOUNT
2.00 380.00
1.00 190.00
0.30 163.50
0.30 163.50
0.30 57.00
1.00 545.00
2.00 1,090.00
1.30 708.50
6.60 2,838.00
0.60 114.00
1.30 708.50
0.70 301.00
0.50 95.00
0.30 163.50
1.00 545.00
1.00 285.00
1.40 602.00
1.20 528.00
5.80 3,161.00
Case 06-10725-gwz

Doc 3730-4 Entered 05/14/07 14:12:23 Page 6 of 10

Invoice No.: 1868885 Page 4
Matter No.: 083230.012700
Description of Professional Services Rendered
(reviewed pleadings/prepared for
confirmation hearing en route) (3.8).
12/19/06 Nancy A. Peterman Attend confirmation hearing. 9.50 5,177.50
12/19/06 David C. Strosnider Telephone conference w/ N. Petermanre: 0.90 279.00
ERISA Section 404,405, and 502 (.60);
prepare email to N. Peterman re: same
(.30).
12/20/06 Nancy A. Peterman Prepare for and attend continued 11.00 5,995.00
confirmation hearing.
12/20/06 Nancy A. Peterman Review draft confirmation order. 1.40 763.00
12/21/06 Nancy A. Peterman Telephone conference with S. Darr re 0.10 54.50
confirmation hearing.
12/22/06 David C. Strosnider Review emails from, and send emails to, N. 0.30 93.00
Peterman re: preparation of memorandum
addressing certain fiduciary and other
related ERISA issues.
Total Hours: 51.80
Total Amount: $ 25,000.50
TIMEKEEPER SUMMARY FOR ACTION CODE 812,
PLAN & DISCLOSURE STATEMENT
Timekeeper Name Hours Billed Rate Total $ Amount
Victoria W. Counihan 1.20 440.00 528.00
Nancy A. Peterman 35.30 545.00 19,238.50
David W. Baddley 8.70 430.00 3,741.00
David C. Strosnider 1.20 310.00 372.00
Collin B. Williams 1.00 285.00 285.00
Kerry E. Carlson 4.40 190.00 836.00
Totals: 51.80 482.64 $ 25,000.50
Case 06-10725-gwz

Doc 3730-4 Entered 05/14/07 14:12:23 Page 7 of 10

Invoice No.: 1868885 Page 5
Matter No.: 083230.012700
Description of Professional Services Rendered
ACTION CODE: 813 FEE/EMPLOYMENT APPLICATIONS
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
12/05/06  =Nancy A. Peterman Revise supplemental affidavit. 1.00 545.00
12/06/06 _— Kerry E. Carlson Retrieve and review supplemental affidavit 0.30 57.00
of T. Allison.
12/06/06 = Nancy A. Peterman Telephone conferences with S. Darr re 0.80 436.00
supplemental affidavit.
12/07/06 —— Kerry E. Carlson Prepare binder of confirmation maters. 0.80 152.00
12/08/06 Nancy A. Peterman Email to S. Darr re retention status. 0.30 163.50
12/08/06 —- Collin B. Williams Research regarding success fees/fee 3.50 997.50
enhancements (2.0); prepare memo
regarding same (1.5),
12/11/06 Nancy A. Peterman Review papers extending MFC's retention. 0.50 272.50
12/15/06 = Nancy A. Peterman Telephone conference with A. Jarvis re 1.00 545.00
release/limitation of liability and related
privilege waiver.
12/18/06 Nancy A. Peterman Review caselaw re fee enhancements. 1.00 545.00
12/21/06 Nancy A. Peterman Telephone conference with C. Williams re 0.10 54.50
fee enhancement (.10).
12/27/06 Collin B. Williams Research regarding fee enhancement 4.50 1,282.50
criteria (3.0); Work on memo regarding fee
enhancements (1.5).
12/28/06 Kerry E. Carlson Research cases with fee enhancement 1.00 190.00
awards.
12/28/06 Collin B. Williams Research regarding fee enhancement 6.00 1,710.00
criteria and factual scenarios where fee
enhancements were granted (4.0); work on
memo regarding same (2.0).
12/29/06 = Collin B. Williams Work on Memo regarding fee enhancement 2.70 769.50
Total Hours: 23.50
Total Amount: $ 7,720.00
TIMEKEEPER SUMMARY FOR ACTION CODE 813
FEE/EMPLOYMENT APPLICATIONS
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 4.70 545.00 2,561.50
Collin B. Williams 16.70 285.00 4,759.50
Kerry E. Carlson 2.10 190.00 399.00
Totals: 23.50 328.51 $ 7,720.00
Case 06-10725-gwz Doc 3730-4 Entered 05/14/07 14:12:23 Page 8 of 10

Invoice No.: 1868885 Page 6
Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 838 SALE OF PROPERTY
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
12/05/06 = Nancy A. Peterman Exchange emails with client re Silverpoint 0.60 327.00
issue.
12/15/06 Nancy A. Peterman Review and comment on draft press release 2.00 1,090.00
re sales transaction.
12/22/06 Nancy A. Peterman Review draft press release (.30); telephone 0.50 272.50

conference call with S. Darr re: same (.10);
draft email to S. Darr and B. Busscher re:

same (.10).
Total Hours: 3.10
Total Amount: $ 1,689.50
TIMEKEEPER SUMMARY FOR ACTION CODE 838,
SALE OF PROPERTY
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 3.10 545.00 1,689.50

Totals: 3.10 545.00 $ 1,689.50
Case 06-10725-gwz Doc 3730-4 Entered 05/14/07 14:12:23 Page 9 of 10

Invoice No.: 1868885 Page 7
Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 922 TRAVEL
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
12/20/06 Nancy A. Peterman Travel to Chicago. 4.00 2,180.00
Total Hours: 4.00

Total Amount: $ 2,180.00

TIMEKEEPER SUMMARY FOR ACTION CODE 922,
TRAVEL

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 4.00 545.00 2,180.00

Totals: 4.00 545.00 $ 2,180.00
Case 06-10725-gwz

Invoice No.: 1868885
Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

Doc 3730-4 Entered 05/14/07 14:12:23

Page 10 of 10

Page 8

Timekeeper Name Hours Billed Rate Total $ Amount
Victoria W. Counihan 1.20 440.00 528.00
Nancy A. Peterman 52.00 545.00 28,340.00
David W. Baddley 8.70 430.00 3,741.00
David C. Strosnider 1.20 310.00 372.00
Collin B. Williams 17.70 285.00 5,044.50
Kerry E. Carlson 8.40 190.00 1,596.00

Totals: 89.20 444.19 $ 39,621.50
